O A O 247 (N C /W 03/08) O rder R egarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT C OURT
                                                                            for the

                                                         Western District of North Carolina

                     United States of America                                  )
                                v.                                             )
                                                                               )   Case No: 4:94CR44-5
                        W ayne Horace Johnson
                                                                               )   USM No: 11173-058
Date of Previous Judgment: 3/26/96                                             )   Samuel Bayness Winthrop
(Use Date of Last Amended Judgment if Applicable)                              )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 235           months is reduced to 188 months                 .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    38                Amended Offense Level:                                                36
Criminal History Category: I                 Criminal History Category:                                            I
Previous Guideline Range:  235 to 293 months Amended Guideline Range:                                              188       to 235   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COM MENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to release
from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to the local
Residential Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation
Officer.

Except as provided above, all provisions of the judgment dated                        3/26/96             shall remain in effect.
IT IS SO ORDERED .

Order Date:           December 12, 2008


Effective Date:
                       (if different from order date)



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